               Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 1 of 6




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 9 Attorneys for Defendant ELIZABETH A. HOLMES

10                               UNITED STATES DISTRICT COURT

11                             NORTHERN DISTRICT OF CALIFORNIA

12                                       SAN JOSE DIVISION

13   UNITED STATES OF AMERICA,                 ) Case No. 18-CR-00258 EJD
                                               )
14           Plaintiff,                        ) JOINT PROPOSED JURY INSTRUCTION
                                               )
15      v.                                     )
                                               )
16   ELIZABETH HOLMES,                         )
                                               )
17           Defendant.                        )
                                               )
18                                             )

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     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD
                Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 2 of 6




 1          On May 27, 2021, the parties filed proposed jury instructions. See ECF Nos. 804 (the

 2 government) and 809 (Ms. Holmes). At the pretrial conference on August 16, 2021, the Court requested

 3 the parties meet and confer about the summary of the elements of the alleged offenses contemplated by

 4 Ninth Circuit Model Criminal Jury Instruction 1.2. The parties met and conferred in good faith and

 5 exchanged proposed summaries. During the meet and confer process, the parties narrowed the areas of

 6 disagreement. The parties continue to disagree regarding certain limited aspects of the summary. The

 7 following are the parties’ competing proposals, with the areas of disagreement highlighted in yellow. 1

 8              I.   Government’s Proposed Summary

 9                         1.2 THE CHARGE—PRESUMPTION OF INNOCENCE

10          This is a criminal case brought by the United States government. The government charges Ms.

11 Holmes with conspiracy to commit wire fraud against Theranos investors, conspiracy to commit wire

12 fraud against Theranos patients, and wire fraud against Theranos investors and patients. The charges

13 against Ms. Holmes are contained in the indictment. The indictment simply describes the charges the

14 government brings against Ms. Holmes. The indictment is not evidence and does not prove anything.

15          Ms. Holmes has pleaded not guilty to the charges and is presumed innocent unless and until the

16 government proves the defendant guilty beyond a reasonable doubt. In addition, Ms. Holmes has the

17 right to remain silent and never has to prove innocence or present any evidence.

18          In order to help you follow the evidence, I will now give you a brief summary of the elements of

19 the charged offenses. There are twelve counts in the indictment. The government must prove each

20 element for each count beyond a reasonable doubt to make its case.

21          Counts One and Two charge conspiracy to commit wire fraud. Ms. Holmes is charged in Count

22 One with conspiring to commit wire fraud against investors in Theranos during the period 2010 to 2015.

23 Ms. Holmes is charged in Count Two of the indictment with conspiring to commit wire fraud against

24 patients who paid for Theranos’ blood testing services during the period 2013 to 2016.

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            1 Both parties reserve the right to propose different and/or more detailed instructions and/or to
     object to aspects of these preliminary instructions at the final instructions stage.
     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD                           1
               Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 3 of 6




 1          A conspiracy is a kind of criminal partnership—an agreement of two or more persons to commit

 2 one or more crimes. The crime of conspiracy is the agreement to do something unlawful; it does not

 3 matter whether the crime agreed upon was committed.

 4          In order for Ms. Holmes to be found guilty of the charges of conspiracy, the government must

 5 prove each of the following elements beyond a reasonable doubt:

 6          First, that there was an agreement between two or more persons to commit wire fraud. I will

 7 define the elements of wire fraud in a minute.

 8          And second, that Ms. Holmes became a member of each alleged conspiracy knowing of at least

 9 one of its objects and intending to help accomplish it.[2]

10          Counts Three through Twelve charge wire fraud. Counts Three though Eight charge wire fraud

11 against investors in Theranos. Counts Nine through Twelve charge wire fraud against paying Theranos

12 patients.

13          In order for Ms. Holmes to be found guilty of the charges of wire fraud, the government must

14 prove each of the following elements beyond a reasonable doubt:

15          First, that Ms. Holmes knowingly participated in, devised, or intended to devise a scheme or

16 plan to defraud, or a scheme or plan for obtaining money or property by means of false or fraudulent

17 pretenses, representations, promises, or omitted facts.[3]

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            2 Conspiracy under 18 U.S.C. § 1349, as alleged here, does not require proof of an overt act.
20 See, e.g., United States v. Roy, 783 F.3d 418, 420 (2d Cir. 2015); United States v. Rogers, 769 F.3d 372,
   380–82 (6th Cir. 2014); United States v. Pascacio–Rodriguez, 749 F.3d 353, 363–64 & 364 n. 49 (5th
21 Cir. 2014); United States v. Fishman, 645 F.3d 1175, 1186 (10th Cir. 2011); United States v. Hussain,
   No. 16-CR-00462-CRB, 2018 WL 3619797, at *34 (N.D. Cal. July 30, 2018) (citing precedent from
22 sister circuits and indicative Ninth Circuit cases), aff’d, 972 F.3d 1138 (9th Cir. 2020), & aff’d, 818 F.
   App’x 765 (9th Cir. 2020). Cf. United States v. Green, 592 F.3d 1057, 1060, 1067 (9th Cir. 2010)
23 (setting forth elements of conspiracy under 18 U.S.C. § 371).
            3 Ms. Holmes objects to the words “omitted facts” and “facts omitted” in the government’s
24
   proposed summary, which are bracketed in Ninth Circuit Model Instruction 8.124. Whether the
25 government will be entitled to an omission instruction in the final instructions will depend on its proof at
   trial, and Ms. Holmes submits that it will be unable to prove the requisite relationship of “trusting
26 relationship” between Ms. Holmes and Theranos investors. See Ninth Circuit Model Instr. 8.124. At a
   minimum, it would mislead the jury, and prejudice Ms. Holmes, to reference omissions or omitted facts
27 in the preliminary instructions without including the lengthy bracketed paragraph in Model Rule 8.124
   explaining the limited circumstances in which omissions may form the basis of a wire fraud conviction.
28 Without that paragraph, the jury will incorrectly believe that omitted facts may form the basis of a wire
   fraud conviction in all circumstances.
     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD                          2
               Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 4 of 6




 1          Second, that the statements made or facts omitted as part of the scheme were material; that is,

 2 they had a natural tendency to influence, or were capable of influencing, a person to part with money or

 3 property;

 4          Third, that Ms. Holmes acted with the intent to defraud, that is, the intent to deceive and cheat;

 5 and

 6          Fourth, that Ms. Holmes used, or caused to be used, an interstate or foreign wire communication

 7 to carry out or attempt to carry out an essential part of the scheme.

 8

 9           II.   Ms. Holmes’ Proposed Summary

10                        1.2 THE CHARGE—PRESUMPTION OF INNOCENCE

11          This is a criminal case brought by the United States government. The government charges Ms.

12 Holmes with conspiracy to commit wire fraud against Theranos investors, conspiracy to commit wire

13 fraud against Theranos paying patients, and wire fraud against Theranos investors and paying patients.[4]

14 The charges against Ms. Holmes are contained in the indictment. The indictment simply describes the

15 charges the government brings against Ms. Holmes. The indictment is not evidence and does not prove

16 anything.

17          Ms. Holmes has pleaded not guilty to the charges and is presumed innocent unless and until the

18 government proves the defendant guilty beyond a reasonable doubt. In addition, Ms. Holmes has the
19 right to remain silent and never has to prove innocence or present any evidence.[5]

20          In order to help you follow the evidence, I will now give you a brief summary of the elements of

21 the charged offenses. There are twelve counts in the indictment. The government must prove each

22 element for each count beyond a reasonable doubt to make its case.

23          Counts One and Two charge conspiracy to commit wire fraud. Ms. Holmes is charged in Count

24 One with conspiring to commit wire fraud against investors in Theranos during the period 2010 to 2015.

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          4 Pursuant to the Court’s Order dismissing Counts Two and Nine through Eleven to the extent
26 they depend on insured and non-paying patients, Ms. Holmes submits that the Court’s instructions
   should consistently refer to “paying” patients. Dkt. 330 at 33.
27        5 Ms. Holmes respectfully reiterates that the Court should give her proposed version of the first

28 two paragraphs of Instruction 1.2, see Ms. Holmes’ Proposed Instruction No. 2, ECF 809 at 3-4, but
   understands that the Court intends to give Model Instruction 1.2.
     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD                           3
                Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 5 of 6




 1 Ms. Holmes is charged in Count Two of the indictment with conspiring to commit wire fraud against

 2 patients who paid for Theranos’ blood testing services during the period 2013 to 2016.

 3          A conspiracy is a kind of criminal partnership—an agreement of two or more persons to commit

 4 one or more crimes. The crime of conspiracy is the agreement to do something unlawful; it does not

 5 matter whether the crime agreed upon was committed.

 6          In order for Ms. Holmes to be found guilty of the charges of conspiracy, the government must

 7 prove each of the following elements beyond a reasonable doubt:

 8          First, that there was an agreement between two or more persons to commit wire fraud. I will

 9 define the elements of wire fraud in a minute.

10          Second, that Ms. Holmes became a member of each alleged conspiracy knowing of at least one

11 of its objects and intending to help accomplish it.

12          And third, that one of the members of the alleged conspiracy performed at least one overt act for

13 the purpose of carrying out each alleged conspiracy.[6]

14          Counts Three through Twelve charge wire fraud. Counts Three though Eight charge wire fraud

15 against investors in Theranos. Counts Nine through Twelve charge wire fraud against paying Theranos

16 patients.

17          In order for Ms. Holmes to be found guilty of the charges of wire fraud, the government must

18 prove each of the following elements beyond a reasonable doubt:
19          First, that Ms. Holmes knowingly participated in, devised, or intended to devise a scheme or

20 plan to defraud, or a scheme or plan for obtaining money or property by means of false or fraudulent

21 pretenses, representations, or promises. A scheme to defraud is a deceptive scheme to deprive a person

22 of money or property.[7]

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            6  Ms. Holmes objects to the absence of an overt act element in the government’s proposed
     summary. See United States v. Ball, 711 F. App’x 838, 841 (9th Cir. 2017) (“Conspiracy to commit . . .
25   wire fraud [under 18 U.S.C. § 1349] requires the jury to find (1) an agreement to engage in criminal
     activity, (2) one or more overt acts taken to implement the agreement, and (3) the requisite intent to
26   commit the substantive crime.” (quoting United States v. Green, 592 F.3d 1057, 1067 (9th Cir. 2010))).
             7 Ms. Holmes submits that Ninth Circuit Model Instruction 8.124 is misleading because a jury
27   may incorrectly infer from the word “or” that a “scheme to defraud” is not a scheme for obtaining
     money or property. The Supreme Court has rejected that reading of the wire fraud statute. Ms. Holmes
28   proposes to add a definition of “scheme to defraud” drawn from Supreme Court case law to avoid

     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD                          4
              Case 5:18-cr-00258-EJD Document 955 Filed 08/26/21 Page 6 of 6




 1          Second, that the statements made as part of the scheme were material; that is, they had a natural

 2 tendency to influence, or were capable of influencing, a person to part with money or property;

 3          Third, that Ms. Holmes acted with the intent to defraud, that is, the intent to deceive and cheat;

 4 and

 5          Fourth, that Ms. Holmes used, or caused to be used, an interstate or foreign wire communication

 6 to carry out or attempt to carry out an essential part of the scheme.

 7

 8 DATED: August 26, 2021                                         Respectfully submitted,

 9                                                                STEPHANIE M. HINDS
                                                                  Acting United States Attorney
10

11                                                                __/s/ Robert S. Leach__________________
                                                                  JEFF SCHENK
12                                                                JOHN C. BOSTIC
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13                                                                KELLY I. VOLKAR
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14
     DATED: August 26, 2021                                       WILLIAMS & CONNOLLY LLP
15

16                                                                __/s/ Amy M. Saharia__________________
                                                                  KEVIN DOWNEY
17                                                                LANCE WADE
                                                                  AMY SAHARIA
18                                                                KATIE TREFZ
                                                                  Counsel for Defendant Elizabeth Holmes
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   misleading the jury. See Kelly v. United States, 140 S. Ct. 1565, 1571 (2021) (“The wire fraud statute
28 thus prohibits only deceptive “schemes to deprive [the victim of] money or property.” (internal
   quotation marks omitted)).
     JOINT PROPOSED JURY INSTRUCTION
     CASE NO. 18-CR-258 EJD                           5
